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                       EXECUTIVE EMPLOYMENT AGREEMENT

         This EXECUTIVE EMPLOYMENT AGREEMENT (this “Agreement”) is made as
of ____            ____, 2017, between WECOUNSEL SOLUTIONS, LLC, a Tennessee limited
liability company (the “Company”), and SAM JOHNSON, an individual with a residence
located at _                               (the “Executive”). In consideration of the promises and
the terms and conditions set forth in this Agreement, the parties hereby agree as follows:

                                     ARTICLE 1
                           POSITION AND RESPONSIBILITIES

       SECTION 1.1. Position. Executive shall serve as the Company’s Chief Executive
Officer (“CEO”).

       SECTION 1.2. Responsibilities and Authority.




       SECTION 1.3. Expected Time Commitment.




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                                   ARTICLE 2
                              TERM OF EMPLOYMENT

       The term of the Executive’s employment shall commence on the date hereof and shall
terminate as set forth in Article 4.

                                     ARTICLE 3
                                   COMPENSATION

      3.1. Salary; Bonus.




             3.1.1. Base Compensation.




             3.1.2. Incentive Compensation.

             (a)




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  3.2. Benefit Plans.




  3.3. Expenses.




  3.4. Annual Review.




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  3.5. Equity.




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                                   ARTICLE 4
                                 TERMINATION

   4.1. Termination upon Death.



   4.2. Termination upon Disability.




   4.3. Termination for Cause.




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   4.4. Termination without Cause.



   4.5.   Termination by Executive.



   4.6. Compensation on Termination.

          (a)   Compensation.




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   4.7. Rights and Remedies Upon Breach.




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                              ARTICLE 5
                   CERTAIN COVENANTS OF EXECUTIVE

   5.1. Confidentiality.




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         (b)    Breach.




   5.2. Non-Competition and Non-Solicitation.




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         (c)    Disclosure and Assignment of Rights.




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   5.3. Rights and Remedies Upon Breach.




   5.4. Severability of Covenants.




                                 ARTICLE 6
                              MISCELLANEOUS

   6.1. Company Actions.




   6.2. Notices.




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   6.3. Entire Agreement.



   6.4.   Waivers and Amendments.




   6.5. Assignment.




   6.6. Counterparts.



   6.7. Headings.


   6.8. Number.




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   6.9.   Governing Law.




   6.10. Expenses.



   6.11. Withholding.



   6.12. Resolution of Disputes, Binding Arbitration.




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